Filed 8/23/24 P. v. Hernandez CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 THE PEOPLE,                                                  B326908

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. YA067279)
           v.

 CHRISTOPHER MOISES
 HERNANDEZ,

           Defendant and Appellant.



      APPEAL from an order of the Superior Court of Los
Angeles County, Laura Ellison, Judge. Affirmed.
      Jonathan E. Demson, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Scott A. Taryle and Daniel C. Chang,
Deputy Attorneys General, for Plaintiff and Respondent.
              __________________________________
       In 2007, appellant Christopher Moises Hernandez pleaded
guilty to one count of attempted murder and admitted the
allegation that he had personally used a handgun during the
crime. In 2022, he filed a petition for resentencing under Penal
Code section 1172.6.1 The superior court denied his petition,
stating that it found “beyond a reasonable doubt that there is
sufficient evidence even today to have found the defendant guilty
of the crime of attempted murder. He was not a major
participant, he was the actual shooter.” On appeal, Hernandez
contends the court employed the wrong standard in denying his
petition; specifically, that it found sufficient evidence to find him
guilty instead of finding him guilty beyond a reasonable doubt.
We conclude that Hernandez has not demonstrated the court
used the wrong standard and that, even if the court had done so,
any error was harmless. We therefore affirm.2




      1 Undesignated statutory references are to the Penal Code.

Effective June 30, 2022, section 1170.95 was renumbered as
1172.6 without substantive change. (People v. Strong (2022) 13
Cal.5th 698, 708, fn. 2.) For clarity, we use the current statutory
numbering.
      2 The People also contend the record of conviction

demonstrates Hernandez’s ineligibility as a matter of law.
Because we affirm the trial court’s denial of Hernandez’s petition,
we need not address this argument.




                                  2
      FACTUAL AND PROCEDURAL BACKGROUND3

      A.     Hernandez Pleads Guilty to Attempted Murder
             and Agrees That the Preliminary Hearing
             Transcript Provided a Factual Basis for His
             Plea
       In 2007, a preliminary hearing was held in which Adilson
Reyes testified that, in December 2006, he had been living with
his wife for three years. She had a cousin named Martin Carrillo.
Reyes was a long-haul trucker and, in December 2006, his wife
called him while he was on the road and told him that Carrillo
had called and asked her to have sex with him; this was at least
the third time Carrillo had made this request. The day after
Reyes returned home, he went to Carrillo’s house to confront him.
       Carrillo was not present when Reyes knocked on the door
to his house but, as he turned to leave, he saw Carrillo and
Hernandez returning in a pickup truck. Reyes had seen
Hernandez with Carrillo “around the neighborhood” in the past.
Reyes pulled out of Carrillo’s driveway, permitted Carrillo to
park, and then blocked Carrillo’s truck in with his own car. All
parties exited their vehicles and Reyes began arguing with
Carrillo; Hernandez left. The argument escalated until Reyes
“was about to swing at” Carrillo, but Carrillo ran to the back of
the house. After a brief argument with Carrillo’s siblings, Reyes
returned to his car.
       As he was buckling his seat belt, he saw Hernandez
walking toward him on the passenger side of the car, from
approximately ten feet away. Hernandez screamed “hey” and

      3 We limit our summary to the facts and procedural history

relevant to the issues raised on appeal.




                                 3
pointed a gun at Reyes; Reyes laughed at him and made a “come
on” gesture with his right hand. Reyes then continued buckling
his seat belt and Hernandez “started blasting”; Reyes was shot
nine times in his legs and arms. Reyes reversed the car and saw
Carrillo come out, grab Hernandez, and pull him toward the
backyard of the house. Reyes then drove his car to the corner to
see whether Carrillo and Hernandez would exit the house and go
somewhere. Reyes heard sirens and drove home; his wife took
him to the hospital where the doctors removed some—but not
all—bullet fragments from his body. From a group of six
photographs shown to him by law enforcement, Reyes identified
Hernandez as the person who shot him.
       On cross-examination, Reyes stated that he had seen
Hernandez “on and off like two years back” and knew his first
name, but not his last. He also clarified that, after driving his
car to the corner, he waited for approximately five to eight
minutes before going home.
       The court found sufficient evidence to hold Hernandez to
answer on a charge of attempted murder. Two weeks later,
Hernandez was charged by information with one count of the
attempted willful, deliberate, and premeditated murder of Reyes.
It was further alleged that he used a handgun during the crime,
which caused great bodily injury.
       In December 2007, Hernandez agreed to plead guilty if he
could be sentenced to 29 years. Subsequently, the prosecutor
amended the sole count of the information to strike out the
allegation that the attempted murder was committed willfully,
deliberately, and with premeditation. Hernandez pleaded guilty
and was sentenced to 29 years—9 years for the attempted
murder and 20 years for the use of the gun. As part of his plea,




                                4
he admitted there was a “[f]actual basis” for his guilty plea, his
attorney stipulated that there was a “factual basis as set out in
the police report and the preliminary hearing transcript,” and the
court likewise found there to be a factual basis for the plea.
Hernandez also admitted that he “personally and intentionally
discharged a firearm during the commission of that crime.”

      B.      The Court Denies Hernandez’s Petition for
              Resentencing
       In April 2022, Hernandez filed a form petition for
resentencing under section 1172.6, checking the boxes next to
statements proclaiming his eligibility for relief, and requesting
appointment of counsel. In a July 2022 hearing, the prosecutor
opined that, although the preliminary hearing transcript, which
had been provided to defense counsel the day before, showed that
“the defendant is the shooter,” she had been authorized to “just
agree” that Hernandez had made a prima facie case to “get the
hearing done.” The court responded that “if there’s a plea, and he
admitted he’s the shooter, it’s simple” and that it seemed to the
court that if Hernandez “admitted being the shooter in a murder
he’s not []eligible for the . . . resentencing.” Nevertheless, the
court stated it would “find at this point that there’s a prima facie
showing so we can move to the next stage.” A hearing was set for
October 2022, and the court invited counsel to “brief it” and to
“[l]ook at the facts.”
       In September 2022, the People responded to Hernandez’s
petition, arguing he was ineligible for relief both because he acted
with express malice and because, by pleading guilty to attempted
murder and personal discharge of a firearm, Hernandez had
admitted he was the actual killer.




                                 5
       At the October 2022 hearing, the court continued the
matter for an evidentiary hearing to be held in November 2022,
to afford Hernandez an opportunity to file a reply to the People’s
response.
       In Hernandez’s reply, he argued that he was eligible for
relief because “[t]he accusatory pleading charging murder need
not and . . . in this case did not specify the manner in which the
prosecution relied in prosecuting the murder, nor need it or did it
specifically set forth the People’s theory of murder” and therefore
the People were not limited to prosecuting Hernandez under any
particular theory of murder. Hernandez also made clear that the
superior court was required to determine “whether, on the state
of the evidence at the entitlement hearing, the petitioner has
been proven guilty beyond a reasonable doubt under the law as it
presently stands.” The briefing contained authority that the
court was to act as “ ‘an independent trier of fact.’ ”
       In November 2022, the court denied Hernandez’s petition.
After Hernandez’s counsel pointed out that a guilty plea was not
always made because the defendant was factually guilty, and
that testimony at a preliminary hearing did not always present
“the complete picture,” the court asked the prosecutor to confirm
that: (1) this was a “negotiated plea disposition”; (2) the
testimony at the preliminary hearing was given under oath and
subject to cross-examination; (3) Hernandez and Reyes knew
each other; (4) they had “some type of beef over a woman”; and (5)
Reyes had testified at the preliminary hearing that Hernandez
shot him multiple times.
       After the prosecutor confirmed these points, the court
concluded: “Well, I do find beyond a reasonable doubt that there
is sufficient evidence even today to have found the defendant




                                6
guilty of the crime of attempted murder. He was not a major
participant, he was the actual shooter. There was a second
person involved, but we’re not looking at this person at this date.
We’re looking at the defendant who was the actual shooter in this
case. So he could still be convicted of the crime of attempted
murder even under today’s laws. [¶] So I deny his motion.”
Neither party objected nor opined that the court had used an
incorrect evidentiary standard. Hernandez timely appealed.

                          DISCUSSION

      A.      Governing Law
         Under section 1172.6, subdivision (a), “A person convicted
of . . . attempted murder under the natural and probable
consequences doctrine . . . may file a petition with the court that
sentenced the petitioner to have the petitioner’s . . . attempted
murder . . . conviction vacated and to be resentenced on any
remaining counts when all of the following conditions apply: [¶]
(1) A complaint, information, or indictment was filed against the
petitioner that allowed the prosecution to proceed under a theory
of . . . attempted murder under the natural and probable
consequences doctrine. [¶] (2) The petitioner was convicted of . . .
attempted murder . . . following a trial or accepted a plea offer in
lieu of a trial at which the petitioner could have been convicted of
. . . attempted murder. [¶] (3) The petitioner could not presently
be convicted of . . . attempted murder because of changes to
Section 188 or 189 made effective January 1, 2019.”
         When a defendant files a facially sufficient petition under
section 1172.6, the trial court must appoint counsel to represent
the petitioner, allow briefing from both sides, and hold a hearing
to determine whether the petitioner has made a prima facie




                                 7
showing for relief. (§ 1172.6, subds. (b)–(c).) “If the petitioner
makes a prima facie showing that the petitioner is entitled to
relief, the court shall issue an order to show cause.” (§ 1172.6,
subd. (c).) At the OSC hearing, “the burden of proof shall be on
the prosecution to prove, beyond a reasonable doubt, that the
petitioner is guilty of . . . attempted murder under California law
as amended by the changes to Section 188 or 189 made effective
January 1, 2019.” (§ 1172.6, subd. (d)(3).)

      B.     Hernandez Has Failed to Demonstrate Error
       Hernandez’s essential contention of error is that the
formulation used by the court to state its ruling on his
resentencing petition is “remarkably similar” to the language
used in People v. Duke (Sept. 28, 2020, B300430) [opn. ordered
nonpub. Nov. 23, 2021, S265309] (Duke), and that we found such
language to indicate the superior court in Duke was using a
“substantial evidence” standard. He also asserts that the
language used by the court here “may have been the product of
lingering misconceptions regarding [the] statute.”
       “Before the Supreme Court ordered this court on November
23, 2021, to vacate our opinion in People v. Duke (Nov. 23, 2021,
S265309), review granted January 13, 2021, and before the
Legislature enacted an amendment to section 1170.95 abrogating
Duke, effective January 1, 2022, there was a split of authority as
to whether at the section 1170.95, subdivision (d) hearing, the
trial court acts as an independent fact finder or applies the
substantial evidence test described in Duke.” (People v. Garrison
(2021) 73 Cal.App.5th 735, 745, fn. omitted.) Hernandez cites
this passage from Garrison as foundation for his argument that,
because the court here stated it had found “beyond a reasonable
doubt that there is sufficient evidence even today to have found




                                 8
the defendant guilty of the crime of attempted murder,” the court
applied the substantial evidence test and did not act as an
independent factfinder. We are unpersuaded.
       The section 1172.6, subdivision (d) hearing in this case
occurred a number of months after the Legislature amended
section 1172.6 to make clear that a resentencing court must act
as an independent factfinder. “Absent evidence to the contrary,
we presume that the trial court knew the law and followed it.”
(People v. Ramirez (2021) 10 Cal.5th 983, 1042.) Moreover, the
briefing submitted to the superior court for the hearing made
clear that the court was to act as “ ‘an independent trier of fact’ ”
and was required to determine “whether, on the state of the
evidence at the entitlement hearing, the petitioner has been
proven guilty beyond a reasonable doubt under the law as it
presently stands.” The point was also made orally at the hearing
when Hernandez’s counsel asserted that “the People have not
proved their case beyond a reasonable doubt.”
       We do not think the court’s use of the phrase “sufficient
evidence” during a part of the oral ruling overcomes the
presumption. First, the court’s entire statement began with the
invocation of the “beyond a reasonable doubt” standard, and
included several statements of positive fact that were not
qualified by a reference to “sufficient evidence.” For example, the
court stated that Hernandez “was the actual shooter” and
commented that “[w]e are looking at the defendant who was the
actual shooter in this case.” We view these statements as actual
findings made by the court based on the evidence. In addition,
before stating its ruling, the court discussed the evidence,
including Reyes’s testimony that Hernandez was the one who




                                  9
shot him and observed that “I believe that’s competent evidence
for me to consider.”
      Second, the court’s use of “is” implies that the court was
making a present determination of the state of evidence—in other
words, acting as an independent factfinder—and was not
evaluating the evidence presented to a previous factfinder for
substantial evidence.
      Moreover, Duke was ordered “depublished” or “not citable”
by our Supreme Court. (People v. Duke (Nov. 23, 2021, S265309),
review granted Jan. 13, 2021.) Depublished cases “are not proper
authority and may not be cited.” (Stratton v. Beck (2018) 30
Cal.App.5th 901, 916.)
      Considered as a whole, the appellate record demonstrates
the court was expressing its own conclusion that, after reviewing
the preliminary hearing testimony and considering Hernandez’s
plea of guilty to the attempted murder charge and the use of a
firearm—which also included a stipulation that the factual basis
for the plea included the preliminary hearing evidence—that
there is sufficient evidence for the resentencing court to find
Hernandez guilty beyond a reasonable doubt, and that it was
doing so.4

      C.  Any Error Was Harmless
     Even had the superior court employed the wrong standard,
Hernandez would still be required to demonstrate prejudice. (See


      4 Our conclusion in this regard is consistent with the

actions of the parties at the time of the hearing. Neither
Hernandez’s counsel nor the prosecutor indicated any concern
that the trial court may have failed to conduct the hearing and
reach conclusions as an independent factfinder.




                                10
People v. Garrison, supra, 73 Cal.App.5th at p. 745 [“Assuming
[defendant] is correct that the trial court applied the wrong
standard of proof at the section 1170.95, subdivision (d)(3)
hearing, [defendant] cannot demonstrate any prejudicial error”].)
He fails to do so.
       The only evidence before the court was the sworn testimony
of the victim, Adilson Reyes. Reyes testified that he had
previously seen Hernandez with Carrillo “around the
neighborhood” and recognized him on the day of the attempted
murder. As Reyes was buckling his seat belt in his car, he heard
Hernandez shout, and saw Hernandez point a gun at him. He
selected Hernandez as the shooter from a pack of six photographs
that the police showed him.
       Hernandez admits on appeal that Reyes’s testimony “was
sufficient to sustain an attempted murder conviction.” He
nevertheless contends that it is unclear “that the superior court’s
ruling would have been the same had it applied the proper
burden of proof” because: (1) it mistakenly thought Reyes had
“some type of beef” with Hernandez over a woman (when in
reality, Reyes’s “beef” was with Carrillo); (2) nothing in Reyes’s
testimony provided any explanation as to why Hernandez would
have been motivated to try and kill Reyes; and (3) despite having
been shot multiple times, Reyes still drove to the corner to see
whether Carrillo or Hernandez were going anywhere. These
contentions do not support a finding that any error was
prejudicial.
       First, Reyes testified that he had previously seen Carrillo
and Hernandez together “around the neighborhood” and
Hernandez was also with Carrillo the morning that Reyes
confronted Carrillo. A reasonable inference from that testimony




                                11
is that Hernandez and Carrillo were friends. Reyes also testified
that he had laughed at Carrillo when Carrillo was threatening
him with a gun, and then taunted him with a “come on” gesture,
essentially communicating his belief that Carrillo lacked the guts
to actually fire. Such testimony amply explains why Hernandez
would have been motivated to kill Reyes (and why the fact that
the original “beef” was with Carrillo and not Hernandez was not
material)—Reyes had argued with and almost gotten into a
physical altercation with Herandez’s friend, and then had
dismissed and taunted Carrillo.
       Second, it is undisputed that Reyes had been shot several
times while he was in his vehicle—there has been no testimony,
evidence, or even speculation that he was unable to drive home in
the state he was in. Thus, we do not see why Reyes’s claim that
he did not immediately drive home would have rendered his
testimony unbelievable.
       On such a record, we hold that, even if the superior court
used the wrong standard in determining Hernandez’s eligibility
for relief, it is not reasonably probable that Hernandez would
have achieved a better outcome had it not so erred. (People v.
Vance (2023) 94 Cal.App.5th 706, 716–717 [court’s use of wrong
evidentiary standard in section 1172.6, subd. (d) hearing
evaluated for harmless error under “state law ‘reasonably
probable’ standard”].)




                               12
                         DISPOSITION
      The superior court’s order is affirmed.
      NOT TO BE PUBLISHED



                                                                     *
                                                      KELLEY, J.

We concur:




             BENDIX, Acting P. J.



             WEINGART, J.




      *
      Judge of the San Luis Obispo County Superior Court,
assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




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